Case 2:05-cr-20238-.]PI\/| Document 22 Filed 08/30/05 Page 1 of 2 Page|D 30

IN THE UNITED STATES DISTRICT COURT m BY »- D‘C-

FOR THE WESTERN DISTRICT OF TENNESSEE 95 AU[; 30 H m l l

WESTERN DIVISION
TtD|W*S M. GOULD
CLEHK U…S_‘. " STH§CTOG{M

WU{__§ \~’.i~p\;{Dt-§S
UNITED STATES OF AMERICA, )
)
Plaimiff )

) CriminalNo.OS-20238-Ml
vs. )
)
BENJAM]N MURRELL, )
)
Defendant. )
M

Upon motion of the United States, IT IS HEREBY ORDERED that the indictment in the
instant case is dismissed without prejudice.

IT IS SO ORDERED.

Dated this 00 day of £"“j - ,2005.

PHIPPS MCCALLA
Jnitev:l States District Judge

 

Assistant United States Attorney

Th`ls document entered on the docket sheet in compliance
wm sum 55 and/or 32(\@) Fsch on 7/~

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT OFTENNESSEE

   

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Honorable J on McCalla
US DISTRICT COURT

